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UN|TED STATES BANKRUPTCY COURT

 

EASTERN DlSTRlCT OF NEW YORK v v
x Case N0:1-16- L{`O/OL][’» VLZ\)
lN RE:
AFF|DAV|T OF CONIPL|ANCE
AlXA MU|R,
Debtor(s).
x

 

The undersigned affiant Aixa 'N|uir, (hereinafter “Debtor”) being tirst duly sworn and
under penalty of pedury, deposes and states in support of contirmation of the above captioned

bankruptcy case that:

(Must check either A or B)

1. (A) The undersigned Debtor has domestic support obligations pursuant to 11 U.S.C.
Section 101(14)A and has paid all domestic support obligations required to be paid pursuant to

11 U.S.C. Section 1325(a)(8).
)< (B) The undersigned Debtor does NOT have domestic support obligations pursuant to
11 U.S.C. Section 101(14A).

(Must check either A or B)

2. >< (A) The undersigned Debtor is required to file tax returns and has filed all applicable
and required Federal, State and local tax returns pursuant to 11 U.S.C. .Section 1308.

(B) The undersigned Debtor is NOT required to tile tax retums.

By signing this affidavit, l acknowledge that all statements contai ed herein are true and
accurate and that the Trustee may rely on the truth of each of th se sta ments' m making
its recommendation to confirm the Chapter 13 plan. Th Trust e may eek revocation of
the Chapter 13 plan if the statements relied upon are n t a cu ate. ,

  

 

 

 

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